UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

BASIL SEGGOS, as Commissioner of the New York

State Department of Environmental Conservation VERIFIED ANSWER
and Trustee of New York State’s Natural Resources, TO CROSS CLAIM OF
and the STATE OF NEW YORK, DEFENDANT ATRIA
BUILDERS, LLC
Plaintiffs,
-against- CIV NO. 2:17-CV-2684

THOMAS DATRE, JR.; CHRISTOPHER GRABE; 5
BROTHERS FARMING CORP.; DAYTREE AT
CORTLAND SQUARE INC.; IEV TRUCKING CORP.;
COD SERVICES CORP.; ALL ISLAND MASONRY &
CONCRETE, INC.; BUILDING DEV CORP.; DIMYON
DEVELOPMENT CORP.; NEW EMPIRE BUILDER
CORP.; CIPRIANO EXCAVATION INC.;
TOUCHSTONE HOMES LLC; SAMS RENT AND
CONSTRUCTION; SAM’S RENT, INC.; NEW YORK
MAJOR CONSTRUCTION INC.; EAST COAST
DRILLING NY INC.; TRITON CONSTRUCTION
COMPANY, LLC; SUKRAM AND SONS LTD.; M & Y
DEVELOPERS INC.; “JOHN DOE”; ATRIA
BUILDERS, LLC; WOORI CONSTRUCTION INC;
PLUS K CONSTRUCTION INC.; NY FINEST
ENTERPRISES INC.; MONACO CONSTRUCTION
CORP.; ALEF CONSTRUCTION INC.; 158
FRANKLIN AVE. LLC; LUCIANO’S
CONSTRUCTION, INC.; ILE CONSTRUCTION
GROUP, INC.; EAST END MATERIALS, INC.;
SPARROW CONSTRUCTION CORP.; CIANO
CONCRETE CORP.; FREEDOM CITY
CONTRACTING CORP.; and TOTAL STRUCTURE
SERVICES INC.,

Defendants.

 

 

 

SIR (S):

The defendant, NEW EMPIRE BUILDER CORP., as and for its answer to the

cross claim of defendant, ATRIA BUILDERS, LLC, upon information and belief states as

follows:

1. Defendant denies each and every allegation contained in the cross claim of

defendant ATRIA BUILDERS, LLC contained in paragraph 260 of their Verified

Answer dated August 1, 2017.

 
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WHEREFORE, defendant, NEW EMPIRE BUILDER CORP., demands judgment
against co-defendant on dismissing the cross claim and herein as against the defendant,

together with the costs and disbursements of this action.

Dated: Bohemia, New York
August 8, 2017

Yours, e
DESENA & S NEY, LLP

 

PAUL } FELICIONE, ESQ. (PF-7795)
Attorneys for Defendant

NEW EMPIRE BUILDER CORP.
1500 Lakeland Avenue

Bohemia, New York 11716
631-360-7333

 

 

 
 

 

STATE OF NEW YORK, COUNTY SUFFOLK

The undersigned, an attorney admitted to practice in the Courts of New York State,
shows: affirmant is PAUL J. FELICIONE, a partner in the law firm of DeSENA &
SWEENEY, LLP., attorney of record for NEW EMPIRE BUILDER CORP, in the within
action, affirmant has read the foregoing VERIFIED ANSWER TO CROSS CLAIM and
knows the contents thereof; the same is true to affirmant’s own knowledge, except as to
the matters therein stated to be alleged on information and belief and that as to those
matters affirmant believes it to be true. This verification is made by affirmant and not
by NEW EMPIRE BUILDER CORP., in that he is not within the County where
undersigned has his office.

The grounds of affirmant’s belief as to all matters not stated upon affirmant’s
knowledge are as follows: investigations made relative to the subject matter,

information and records, in his file.
The undersigned affirms that the foregoing statements are true, under the penalties of

perjury.

Dated: Bohemia, New York
August 8, 2017

 

PAUL JNFELICIONE, ESQ. (PF-7795)

 
Case No. 2: 17-CV-2684 ‘Year 2017

 

UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK

 

BASIL SEGGOS, as Commissioner of the New York State Department of Environmental
conservation and Trustee of New York State’s Natural Resources, and the STATE OF NEW YORK,

Plaintiffs,

- -against-
THOMAS DATRE, JR.; CHRISTOPHER GRABE; 5 BROTHERS FARMING CORP.;
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CORP.; ALL ISLAND MASONRY & CONCRETE, INC.; BUILDING DEV CORP.; DIMYON .
DEVELOPMENT CORP.; NEW EMPIRE BUILDER CORP.; CIPRIANO EXCAVATION INC.;
TOUCHSTONE HOMES LLC; SAMS RENT AND CONSTRUCTION; SAM’S RENT, INC;
NEW YORK MAJOR CONSTRUCTION INC.; EAST COAST DRILLING NY INC.; TRITON .
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INC.; “JOHN DOE”; ATRIA BUILDERS, LLC; WOORI CONSTRUCTION INC.; PLUS K
CONSTRUCTION INC.; NY FINEST ENTERPRISES INC.; MONACO CONSTRUCTION
CORP.; ALEF CONSTRUCTION INC.; 158 FRANKLIN AVE. LLC; LUCIANO’S
CONSTRUCTION, INC.; ILE CONSTRUCTION GROUP, INC.; EAST END MATERIALS,
INC.; SPARROW CONSTRUCTION CORP.; CIANO CONCRETE CORP.; FREEDOM CITY
CONTRACTING CORP.; AND TOTAL STRUCTURE SERVICES INC.,

 

‘Defendants.

_ VERIFIED ANSWER TO CROSS CLAIM

 

DESENA & SWEENEY, LLP
Attorneys at Law
Attorneys for NEW EMPIRE BUILDER CORP.
1500 Lakeland Avenue ,
Bohemia, New York 11716
(631) 360-7333

 

Sir: Please take notice

C1 NOTICE OF ENTRY ,

that the within ig a (certified) true copy of a _ duly entered in the office of the clerk of
the within named Court on 20. ,

C1 NOTICE OF SETTLEMENT .

that an order S of which the within is a true copy will be presented for settlement to the Honorable —
, one of the judges of the within named court at on ', 20 at M.

Yours etc.,

DESENA & SWEENEY, LLP.
Attorneys for
NEW EMPIRE BUILDER CORP. °
1500 Lakeland Avenue ,
Bohemia, NY 11716 ©
(631) 360-7333

 
